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                                                               MARK D. SHIRIAN
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                                         October 19, 2020

Via ECF
United States District Court
Southern District of New York
500 Pearl St.
New York, New York 10007
Attn: Honorable Judge Lewis J. Liman

               Re:     Crystal Killoran v. DHG Management Company, LLC, et al.
                       1:19-cv-11098-LJL

Dear Honorable Judge Liman:

        I am a member of Mark David Shirian P.C., attorneys for the plaintiff, Crystal Killoran, in
the above-referenced action. Reid Kahn and David Gold represent Defendants. I write to
respectfully request an extension of time to comply with Your Honor’s Order on Defendants’
Motion to Compel dated October 14, 2020 (Doc. No. 22). I also write in support of the parties'
joint application for a referral to a Magistrate Judge for a settlement conference and for either a
stay of the deposition deadline or a two-month extension of the deposition deadline in this case.

       On October 8, 2020, Defendants requested an order compelling Plaintiff to provide the
contact information (address, telephone number, and email address) for the friends and family
members, which Plaintiff identified in her Fed. R. Civ. P. Rule 26 Initial Disclosures and in
response to Defendants’ interrogatories and other discovery regarding Plaintiff’s social media
account.

         On October 14, 2020, Your Honor granted in part Defendants’ motion to compel and
ordered Plaintiff to provide Defendants with addresses, telephone numbers and email addresses
for all persons listed by Plaintiff in her Rule 26 initial disclosures by October 19, 2020.

        I write to request a one week extension of time for Plaintiff to provide this discovery to the
Defendants, from October 19, 2020 to October 26, 2020. I request an extension of time because
Plaintiff has expressed concerns regarding the privacy of her friends and family and their
involvement as non-material witnesses in this instant litigation. Defendants do not object to this
request.
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                  I also write jointly with Defendants to provide the Court with a status update of the parties’
          settlement efforts. While the parties were planning to utilize a private mediator, both sides feel that
          a referral to a Magistrate Judge for a settlement conference is the most efficient way to bring this
          case to an appropriate resolution at this present time. Accordingly, the parties respectfully request
          that Your Honor refer this matter to a Magistrate Judge for a settlement conference.1

                   In light of the parties’ joint request for a referral to a Magistrate Judge for a settlement
          conference, and pursuant to Rule 1(C) of Your Honor’s Individual Rules of Practice, I write jointly
          with Defendants’ counsel to request either a stay of the deposition deadline or a two-month
          extension of the deposition deadline in this case, from October 28, 2020 to December 23, 2020 to
          complete depositions. This additional time is necessary for the parties to schedule and participate
          in a settlement conference without incurring the expense and time of depositions. This is the second
          request from the parties to extend the deposition deadline.2

                  Thank you for your consideration of this matter.

                                                          Respectfully submitted,




                                                              Mark D. Shirian

            Cc: All Parties (via ECF service)
The requested extension of time to satisfy the Court's October 14, 2020 discovery Order is GRANTED. Plaintiff
shall satisfy that Order by October 26, 2020. The request to stay the deposition deadline is DENIED, but the
request to extend the deposition deadline to December 23, 2020 is GRANTED. The Court will grant the parties'
request for referral to a Magistrate Judge for settlement, and a referral will issue by separate order.

IT IS FURTHER ORERED that the parties shall file a revised case management plan consistent with the Court's
order by October 23, 2020 at 5:00 p.m. SO ORDERED. 10/20/2020
          1
            Plaintiff’s counsel included this request in the Response in Opposition to Defendants’ Motion to Compel. (See
          Document No. 21).
          2
            Plaintiff’s counsel included this request in the Response in Opposition to Defendants’ Motion to Compel. (See
          Document No. 21).
